                    Case 3:13-cr-00100-WKW-CSC Document 668 Filed 01/28/15 Page 1 of 6

AO 245B         (Rev. 09/1 1) Judgmcnt in a Criminal Case
0               Sheet



                                             UNITED STATES DISTRICT COURT
                                                             MIDDLE DISTRICT OF ALABAMA

                UNITED STATES OF AMERICA                                                    JUDGMENT IN A CRUIVHNAL CASE
                                     V.
                                                                                             (WO)

                          DAVID SELLERS                                                     Case Number: 3:13crlOO-1.-WKW
                                                                                   )        USM Number: 14780-002
                                                                                   )
                                                                                            William Clay Teague
                                                                                            Defendants .Atioriiey
THE DEFENDANT:
     'pleadcd guilty to count(s)          Iss of the Second Superseding Indictment on 10/02/2014
EI pleaded nolo contcndcrc to count(s)
                                                                               -        -
     which was accepted by the court.                       --
El was found guilty on eount(s)
     after a plea ol not guilty                                                                                                --

The deirtdaol is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                                Offense Ended            Count

    18:371                            Conspiring to Sponsor, Exhibit, Buy, Sell, Possess, Train or                    6/19/:013                Iss

                                       Transport a Dog for Participating in an Animal Fighting Venture




L See additional count(s) on page 2


      The defendant is seuteneed as provided in pages                   through 6 of this judgment. The sentence is utiposed pursuant to the
Sentencing Reform Act of 1984.
E The defendant has been found not guilty on count(s)

     Counl(s) (*) see                                            E is     tare dismissed on the motion of the United States.
                            below

         It is ordered that the defendant imst notify ihe United States attorney for this district within 30 days i I any change of name, residence,
or mailing address until all fine ,,, , restitution, costs, and special assessments imposed by this judgment tire full.' paid. It ordered to pay restitution,
the defendant must noti the court and United States attorney of material changes in economic circumstance';.

(*) 1 1 s,1 6,16s,l6ss, 17,1 7s,22s-23s,24-25,4Oss-42ss,                           01/15/2015
     43ss,48ss-49ss                                                                DaLe of liiiosi hun ui Judgmcni




                                                                                   Signature of Judge


                                                                                   W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE                         --



                                                                                       i.fs
                                                                                   Name of .tudgc                            'fate of Judge


                                                                               -
                                                                                Dcc
                          Case 3:13-cr-00100-WKW-CSC Document 668 Filed 01/28/15 Page 2 of 6

AO 245B               (Rev 09/11) Judgment in a Criminal Case
V1                   Sheet 4—Probation

                                                                                                                             Judgment Page: 2 of 6
 DEFENDANT: DAVID SELLERS
 CASE NUMBER: 3:13cr100-12-WKW
                                                                       PROBATION
     The defendant is hereby sentenced to probation for a term of:

      Five Years




     The defendant shalt not commit another federal, state or local crime.
     The defendant shall not unlawfully possess a controlled substanee. The defendant shall refrain from any unlawful use of a controlled
     substance. The defendant shall submit to one drug test within 15 days of placement on probation and atlei;t two periodic drug tests
     thereafter, as determined by the court.
               The above drug testing condition is suspended, based on the court's determination that the defendant loses a low risk of
               future substance abuse. Chec/ if applicable.)
               The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous wc:pon. (Check, ifapplicable.)
               The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, iJopltcabie)

     LI        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Iet (42 U.S.C. 16901, c/seq.)
               as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agen i in which he or she resides,
               works, is a student, or was convicted of a qualifying offense. Check, ifapphcable.)
     LI The defendant shall participate in an approved program for domestic violence. (Check if applicable.)
             If this judgment imposes a fine or restitution, it is a condithn of probation that thedefendant pay in accordance with the Schedule of
     Payments sheet of this judgment.
               The defendant must comply with the standard conditions that have been adopted bythis court aswel: as with any additional conditions
     on the attached page.

                                                 STANDARD CONDITIONS OF SUPERVISION
          1)     the defendant shall not leave the judicial district without the permission of the court or probation off er;
          2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
          3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructiont of the probation officer;
          4)     the defendant shall support his or her dependents and meet other family responsibilities;
          5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer fcr schooling, training, or other
                 acceptable reasons;
          6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or eiploynient;
          7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
                 substance or any paraphernalia related to any controlled substances, except as prescribed by a physic::an;
          X)     the defendant shall not frequent places where controlled substances are illegally sold, used, distribut:il, or administered;
          9)     the defendant shall not associate with any persons cngaed 'in criminal activity and shall not associati' with any person convicted of a
                 felony, unless granted permission to do so by the probation officer;
      10)       the defendant shall permit a probation officer to visit him or her at any time at borne or elsewhere and ;hall perrriit confiscation of any
                contraband observed in plain view of the probation officer;
      11)        the defendant shall notify the probation officer within seventy-two hours of being arrested or questioiied by a law enforcement officer;
      12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enf.rccmnt agency without the
                permission of the court: and
      13)       as directed by the probation officer, the defendant shall noti' third parties ofrisks that may be occasioned by the defendant's criminal
                record or personal history or characteristics and shall permit tli e probation officer to make such notifications and to confirm the
                defendant s compliance with such notification requirement.
                  Case 3:13-cr-00100-WKW-CSC Document 668 Filed 01/28/15 Page 3 of 6

AO 245B        (Rev. 09/11) Judgmenl in a Criminal Case
V1              Shee 4C - Probation

                                                                                                             Judgment Page: 3 of 6
 DEFENDANT: DAVID SELLERS
 CASE NUMBER: 3:13cr100-12-WKW


                                             SPECIAL CONDITIONS OF SUPERVISION

     Defendant shall participate in the home confinement program, with electronic monitoring, for a priod of six (6) months, to
     begin at a time designated by the probation officer. Defendant shall follow the procedures specilied by the probation
     officer and pay the cost of electronic monitoring.

     Defendant shall complete 100 hours of community service within the first two years of supervise::l release. One-half of the
     community service shall be completed at an animal shelter or other facility that cares for animals to be designated by the
     probation officer.

     Defendant shall not possess a pit bull while on probation.

     Defendant shall participate in a program of drug testing administered by the United States Probe I:ion Office

     Defendant shall provide the probation officer any requested financial information.

     Defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.

     Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the see ich policy of this court.
                   Case 3:13-cr-00100-WKW-CSC Document 668 Filed 01/28/15 Page 4 of 6

AO 245B        (Rev. 09/11) Judgment in a Criminal Cane
vi             SheetS —Criminal Monetary Penalties

                                                                                                                       Judgment Page: 4 of 6
     DEFENDANT: DAVID SELLERS
     CASE NUMBER: 3:13cr100-12-WKW
                                                  CRIMINAL MONETARY PENALTIES

        The defendant must pay the total criminal monetary penalties under the schedule olpayments on Slice 6,

                        Assessment                                         Fine
 TOTALS              S 100.00                                          $                                  $ s90,:00.00


       The determination of restitution is deferred until                     An Amended Judgment in a Criminai Case (AO 245C) will be entered
       after such determination.

        The defendani must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned paynnt, unless specified otherwise in
        the priority order or percentage payment column             owever,below.
                                                                             pursuant to
                                                                                      H18 U.S.
                                                                                             § C3664(1),
                                                                                                 .       at nonfederal victims must be paid
        before the United States is paid.

 Name of Payee                                                     Total Loss*                Restitution Ordereit Priority or Percentage

     ASPCA                                                                                               $90,000.00

     520 Eighth Avenue
     New York, New York 10018




 TOTALS                                                                               $0.00              $90,000. 10


 E      Restitution amount ordered pursuant to pIca agreement S

        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or [ne is paid in full belhre the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment optior son Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to iS U.S.C. § 3612(g).

        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        Wf the interest requirement is waived for the         E fine       V restitution.
        El the interest requirement for the          E fine        restitution is modified as follows;



 * Findings for the total airount of losses are required under Chapers 109A, I 10, IIOA, and 113A of Title 18 flroffenses committed on or after
 September 13, 1994, but before April 23, 1996.
                     Case 3:13-cr-00100-WKW-CSC Document 668 Filed 01/28/15 Page 5 of 6

AO 245B          (Rev. 09/I1) Judgment in a Criminal Case
VI               Sheet 6— Schedule of Payments
                        Judgment Page: 5 of 6
 DEFENDANT: DAVID SELLERS
 CASE NUMBER: 3:13cr100-12-WKW


                                                            SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as ft:llows:

 A          Lump sum payment ofS 90,100.00                      due immediately, balance due

            rl       not later than                                  , or
                 " in accordance LI C, LI D,                    LI     E, or [" F below; or

 B    LI Payment to begin immediately (may be combined with                  LI C,        [J D, or         F below); o'

 C    LI Payment in equal -                    (e.g., weekly, monthly, quw'xerly) installments of $                 --over a period of
             .........(e.g. months or years), to commence                       (e.g., 30 or 60 days) after the datc of this judgment; or

 0    n Payment in equal                       (eg., weekly, monthly, quarterly) installments of $                          over a period of
                     (e.g., months or years), to commence         -             (e.g, 30 or 60 days) after release from imprisonment to a
        term of supervision; or

 E LI Payment during the term of supervised release will commence within --(e.g., 30 or 'lidays) after release from
      imprisonment.The court will set the payment plan based on an assessment of the defendant's abi l ity to pay at that time; or

 F          Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District 'Alabama, Post Office Box 711,
            Montgomery, Alabama 36 10 1. Any balance remaining at the start of supervision shall be paid at the rate of iot less than S100.00 per month.
            To the extent that other defendants are ordered in this case or in any other ease to be responsible for some ci all of the restitution amount
            owed to the victim, the victim is entitled to only one recovery, from whomever received. In other words, tf victim is not allowed to receive
            compensation in excess of its loss.
            () See page 6 for related eases/defendants

 Unless the court has expressly ordered otherwise, j ithis judgment imposes imprisonment, payment of erinin ii monetar y penalties is due during
 imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 LI Joint and Several

      Defendant and Co-Defendant Names and Case Numbers 'including defendant number,), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 LI The defendant shall pay the cost of prosecution.

 LI The defendant shall pay the following court cost(s):

 LI The defendant shall forfeit the defendant's interest in the following property to the United Stales:




 Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interst, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
             Case 3:13-cr-00100-WKW-CSC Document 668 Filed 01/28/15 Page 6 of 6




                                                                      Judgment Page: 6 of 6




Related cases/defendants:

3:1 3crl 00-01 -WKW Donnie Anderson
3:13crlOO-02-WKW    Irkis Forrest
3:13 cr1 00-05-WKW  William Antone Edwards
3:13cr100-07-WKW    Robin Stinson
3:13cr100-09-WKW    Michael Martin
3:1 3crl 00-1 0-WKW Lawrence Watford
3:13cr100-11 -WKW Rcki Van Le
